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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO: 20-cv-20113-KMW

   STEVEN F. HELFAND,

          Plaintiff,
   vs.

   ESSLINGER WOOTEN MAXWELL INC.
   d/b/a   BERKSHIRE    HATHAWAY
   HOMESERVICES     EWM    REALTY;
   EDWARD PELOSO; EJP 888 BISCAYNE
   BLVD    2712,   LLC;   MARCELO
   STEINMANDER; and MARINA BLUE
   CONDOMINIUM ASSOCIATION,

          Defendants.

                   DEFENDANTS’, MARCELO STEINMANDER AND
                    ESSLINGER-WOOTEN-MAXWELL INC. D/B/A
               BERKSHIRE HATHAWAY HOMESERVICES EWM REALTY,
                    MOTION TO DISMISS AMENDED COMPLAINT

         Defendants, Marcelo Steinmander (“Steinmander”) and Esslinger-Wooten-Maxwell, Inc.

  d/b/a Berkshire Hathaway HomeServices EWM Realty (“BHHS EWM Realty”), by and through

  undersigned counsel and pursuant to the Federal Rules of Civil Procedure 12(b)(6), hereby move

  this Court for entry of an Order dismissing the Amended Complaint filed by Pro Se Plaintiff,

  Steven F. Helfand (“Helfand”) [D.E. 30]. In support of the Motion, Steinmander and BHHS EWM

  Realty state as follows:

                                        BACKGROUND

         Plaintiff’s Amended Complaint consists of a single “First Cause of Action” entitled “Fair

  Housing Act Violations Against All Defendants”. [D.E. 30] Plaintiff was a former tenant who

  resided at the real property located at 888 Biscayne Blvd, Unit 2712, Miami, FL          33132

  (“Property”) owned by another Defendant, EJP 888 Biscayne Blvd 2712, LLC. On October 29,
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  2019, a Default Final Judgment of Possession was entered by the County Court of the 11th Judicial

  Circuit in and for Miami-Dade County, Florida in EJP 888 Biscayne Blvd 2712 LLC v. Helfand,

  Case No. 2019-026101 CC (05) (“Eviction Action”) and a Writ of Possession as to the Property

  was issued on October 30, 2019. [D.E. 30, ¶5] Following the Eviction Action, Plaintiff brought

  claims against Steinmander and BHHS EWM Realty among other Defendants, in the matter styled

  Helfand v. vs EJP 888 Biscayne Blvd., LLC, et al., CASE NO.: 19-034254 CA (30), in the Circuit

  Court of the 11th Judicial Circuit of Miami-Dade County, Florida. Motions to Dismiss the

  Amended Complaint are pending to be heard by the Circuit Court.

         Plaintiff’s Amended Complaint, now consisting of a single count, is a series of 13 narrative

  paragraphs and a footnote. The Amended Complaint continues to run afoul of the pleading

  standards of this Court as it remains a “shotgun pleading” and fails to state a claim for relief under

  the Fair Housing Act against Steinmander, a real estate licensee, and BHHS EWM Realty, his real

  estate brokerage. In his attempt at asserting a federal court claim under the Fair Housing Act,

  Plaintiff fails to alleged that he is an aggrieved party under the FHA or that any discriminatory

  practice of BHHS EWM Realty or Steinmander lead to his claim. Rather, Plaintiff’s “claim stems

  from the unlawful disposal of Plaintiff’s property by his landlord and other tortfeasors in violation

  of FS 715.104 and the lease.” [D.E. 30, ¶1] Further, a careful review of the Lease and the Notice

  of Termination of Lease set forth in Exhibit B, contradict Plaintiffs allegations and demonstrate

  that Plaintiff’s conclusory allegations against BHHS EWM Realty and Steinmander fail to state a

  claim and should be dismissed.

         As a result of the foregoing, Plaintiff’s Amended Complaint against Defendants,

  Steinmander and BHHS EWM Realty, must be dismissed by this Court.




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                                               ARGUMENT

  I.      Applicable Standard for Dismissal

          “To survive a motion to dismiss [under Rule 12(b)(6)], a complaint must contain sufficient

  factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” See Ashcroft

  v. Iqbal, 556 U.S. 662, 678, 129 S.Ct. 1937, 173 L.Ed.2d 868 (2009) (quoting Bell Atl. Corp. v.

  Twombly, 550 U.S. 544, 570, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007)). “Only a complaint that

  states a plausible claim for relief survives a motion to dismiss.” Iqbal, 556 U.S. at 679, 129 S.Ct.

  1937 (citing Twombly, 550 U.S. at 556, 127 S.Ct. 1955). Although this pleading standard “does

  not require ‘detailed factual allegations,’ ... it demands more than an unadorned, the-defendant-

  unlawfully-harmed-me accusation.” Id. (quoting Twombly, 550 U.S. at 555, 127 S.Ct. 1955).

  Unsupported allegations and conclusions of law, however, will not benefit from this favorable

  reading. See Iqbal, 556 U.S. at 679, 129 S.Ct. 1937 (“While legal conclusions can provide the

  framework of a complaint, they must be supported by factual allegations.”). “[U]nwarranted

  deductions of fact in a complaint are not admitted as true for the purpose of testing the sufficiency

  of [a] plaintiff's allegations.” Aldana v. Del Monte Fresh Produce, N.A., Inc., 416 F.3d 1242, 1248

  (11th Cir. 2005).

          Plaintiff continues to set forth narrative factual allegations including all the Defendants,

  Steinmander and BHHS EWM Realty, and fails to state a claim under the minimal pleading

  standards of the Federal Rules of Procedure. As a result, Plaintiff’s Complaint cannot meet the

  pleading standard to survive dismissal.

  II.     Plaintiff’s Complaint Remains a “Shotgun Pleading”

          The Amended Complaint continues to be a “shotgun pleading.” Shotgun pleadings impede

  the orderly, efficient and economic disposition of disputes as well as the court’s overall ability to




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  administer justice. Degirmenci v. Sapphire-Fort Lauderdale, LLLP, 693 F. Supp. 2d 1325, 1336

  (S.D. Fla. 2010) (citing Byrne v. Nezhat, 261 F.3d 1075, 1128–31 (11th Cir. 2001)). A shotgun

  pleading is contrary to Federal Rule of Civil Procedure 8’s requirement of a short and plain

  statement of the claim. See Magluta v. Samples, 256 F.3d 1282, 1284 (11th Cir. 2001). “The

  unifying characteristic of all types of shotgun pleadings is that they fail to one degree or another,

  and in one way or another, to give the defendants adequate notice of the claims against them and

  the grounds upon which each claim rests.” Weiland v. Palm Beach Cty. Sheriff’s Office, 792 F.3d

  1313, 1323 (11th Cir. 2015) (citing Sledge v. Goodyear Dunlop Tires N. Am., Ltd., 275 F.3d 1014,

  1018 n.8 (11th Cir. 2001).

         Defendants are hard pressed to determine the allegations that form the basis of Plaintiff’s

  alleged claim of discrimination under the Fair Housing Act.            Plaintiff’s narrative includes

  allegations against Steinmander, and all the Defendants together: “Steinmander, EJP, EWM &

  Peloso orchestrated a series of intrusions into the unit so as to destabilize Plaintiff. On information

  and belief, Peloso and/or Steinmander contacted FP&L to disable the power to the unit after the

  bill had already been paid by Plaintiff, and to cut-off/terminate services. The same happened with

  Comcast and the internet.” [D.E. 30, ¶9] Plaintiff fails to tie in how any such allegations rise to a

  claim for discrimination under the Fair Housing Act. Therefore, Plaintiff’s Amended Complaint

  is improper and must be dismissed as a shotgun pleading.

  III.   The Exhibits Contradict the Allegations of the Complaint

         The Amended Complaint attempts to assert conclusory allegations about BHHS EWM

  Realty and Steinmander in paragraphs 7, 8 and 9, all of which are contradicted by Exhibit B. [D.E.

  30, Ex. B] Exhibit B is the first page of a Notice of Termination of Lease (With No Opportunity

  to Cure) (“Notice”). Plaintiff fails to include the remaining appended documents attached to the




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  Notice but referenced therein. [D.E. 30, Ex. B] Exhibit B attached to the Amended Complaint

  reflects that Plaintiff’s allegations are in complete contradiction to the allegations made as to

  Steinmander and BHHS EWM Realty. Exhibit B states:

         This action is taken because:
         You have continued to violate your lease agreement, page 3 paragraph VIII, (see
         attached copy of lease agreement) and Florida Statue 83.53 Specifically misuse of
         the landlord’s and property by intentional act or unreasonable disturbance as to the
         enclosed report dated September 24, 2019 regarding the computer theft, in addition
         on July 13, 2019 hot wire motorcycle enclose violation notice on September 23,
         2019 police was also dispatch to your unit additional incident report and
         unauthorize electrical repairs to electrical panel and plus enclose are pictures of
         September 16, 2019

  [D.E. 30, Ex. B]

         Under the Federal Rules of Civil Procedure exhibits are part of the pleading “for all

  purposes.” Fed.R.Civ.P. 10(c); see Solis–Ramirez v. U.S. Dep't of Justice, 758 F.2d 1426, 1430

  (11th Cir.1985) (per curiam) (“Under Rule 10(c) Federal Rules of Civil Procedure, such

  attachments are considered part of the pleadings for all purposes, including a Rule 12(b)(6)

  motion.”). When exhibits contradict the general and conclusory allegations of the pleading,

  the exhibits govern. See Associated Builders, Inc. v. Ala. Power Co., 505 F.2d 97, 100 (5th

  Cir.1974) (“Conclusory allegations and unwarranted deductions of fact are not admitted as true,

  especially when such conclusions are contradicted by facts disclosed by a document appended to

  the complaint. If the appended document, to be treated as part of the complaint for all purposes

  under Rule 10(c), Fed.R.Civ.P., reveals facts which foreclose recovery as a matter of law, dismissal

  is appropriate.” (citation omitted)); Simmons, 113 F.2d at 813 (“Where there is a conflict between

  allegations in a pleading and exhibits thereto, it is well settled that the exhibits control.”).

         The alleged claims as to Steinmander, “that he entered the unit under artifice”; that

  Steinmander was “looking for any basis to evict Plaintiff early”; that he “ignored all of Plaintiff’s




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  concerns about the unit, and repairs that were needed for safety” and that all Defendants

  “orchestrated a series of in appropriate service interruptions for the unit” are in direct contradiction

  with the Notice and the reasons articulated by the Landlord who began and successfully evicted

  the Plaintiff. As a result of such contradictions, Plaintiff’s Amended Complaint must be dismissed.

  IV.    Failure to State a Claim for Violation of the Fair Housing Act

         Plaintiff’s Amended Complaint fails to state a claim for violation of the Federal Fair

  Housing Act (“FHA”) against Steinmander and BHHS EWM Realty, nor can he do so. The Fair

  Housing Act protects against discrimination against any person in the “terms, conditions, or

  privileges of…rental of a dwelling, or in the provision of services or facilities in connection

  therewith, because of race, color, religion, sex, familial status, or national origin.” 42 U.S.C.

  §3604(b). Further, under the FHA an “aggrieved person” is entitled to bring suit where he, she, or

  it has been “injured by a discriminatory housing practice.” 42 U.S.C. § 3602(i)(1); 42 U.S.C. §

  3610(a)(1)(A). “Homosexuality” is not a recognized disability or impairment under the Americans

  with Disabilities Act, 42 U.S.C. §12211(a) nor is it included as one of the protected classes set

  forth under the FHA.

         Plaintiff alleges that “The breach occurred because of Plaintiff’s sexual orientation and this

  HIV Positive status.” [D.E. 30, ¶1] At best, Plaintiff’s narrative allegations attempt to set forth

  complaints again his Landlord following a successful Eviction Action in Circuit Court. Plaintiff

  makes no assertion that he has been denied housing or was injured because of his race, color,

  religion, sex, familial status, or national origin. Further, Plaintiff does not allege that any actions

  taken by BHHS EWM Realty or Steinmander impacted his accessibility to housing or injury

  stemming from any discriminatory housing practice because of his race, color, religion, sex,

  familial status or national origin. Plaintiff has not alleged that he has been denied housing due to




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  any discriminating practices employed by Steinmander and/or BHHS EWM Realty. As Plaintiff

  fails to allege and cannot allege any violation of the FHA or any discriminatory housing practice

  against Steinmander or BHHS EWM Realty, the Amended Complaint should be dismissed by this

  Court.

                                           CONCLUSION

           For the foregoing reasons, Defendants, Esslinger-Wooten-Maxwell, Inc. d/b/a Berkshire

  Hathaway HomeServices EWM Realty and Marcelo Steinmander, respectfully request this Court

  enter an Order dismissing the Amended Complaint filed by Plaintiff, Steven F. Helfand, with

  prejudice, and for such other and further relief as this Court deems just and proper.

                                      LOCAL RULE 7.1(a)(3)

           On March 23, 2020, pursuant to S.D. L.R. 7.1(a)(3), counsel for BHHS EWM Realty and

  Steinmander conferred with Plaintiff via telephone in a good faith attempt to resolve the issues

  raised in this instant motion on March 23, 2020. No resolution to the issues raised in the motion

  was reached. Counsel will continue to cooperate with pro se Plaintiff.


                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on this 24th day of March, 2020, that a true and correct copy

  of the foregoing was filed with the Court through CM/ECF, and has been served upon all parties

  on the attached Service List in the manner specified, either via transmission of Notices of

  Electronic Filing generated by CM/ECF or in some other authorized manner for those counsel or

  parties who are not authorized to receive electronically Notices of Electronic Filing.




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                                     Berkshire Hathaway HomeServices EWM Realty
                                     and Marcelo Steinmander
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